Case 1: 05- -c\/- OllOO- .]DT- STA Document 8 Filed 06/08/05 Page 1 of 2 fPage|D 4

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IN THE UNITED sTATEs DISTRICT COURT 514/§
FoR THE WESTERN DISTRJCT oF TENNES_§§§ <9 §§ " 957
WESTERN DIVISIoN ,;,§§j § §,O app
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MARcus WADE, § / grigg/§§qu
o 'k, §:§:C;z;}l/"
Petitioner, §
l
vs. § NO. 05-1100-r/An
ii
GLEN TURNER, g
ll
Respondent. ll

 

ORDER OF DISMISSAL

 

On April l, 2005, petitioner Marcus Wade filed a petition for a writ of habeas corpus
pursuant to 28 U.S.C. § 2254 and an application to proceed in forma pauperis Based on the
information contained in the petitioner’ s affidavit and trust fund account statement, the Court entered
an order on April 18, 2005 denying pauper status and ordering petitioner to pay the $5.00 habeas
filing fee within thirty days. The order also warned petitioner that failure to comply would result in
the dismissal of the petition, without further notice, for failure to prosecute

The thirty-day period allowed by the Court has expired, and petitioner has neither paid the
$5.00 filing fee nor sought an extension of time in which to do so. Therefore, the petition is hereby
DISMISSED, without prejudice, for failure to prosecute.

IT IS SO ORDERED.

 

 

L\ 1 90/29'¢9\
JAM D.TODD

UNI D STATES DISTRICT JUDGE

DATE
Thle document entered on the docket sheet In oomp|lence
with Ru!e 58 and.'or_?e (a) FF|CP on

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case l:05-CV-01100 was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

Marcus Wade
292802

P.O. Box 549
Whiteville, TN 38075

Honorable J ames Todd
US DISTRICT COURT

